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     SS District 4          SR District 119                Piscataquis District 1                                                                                                                             Style No. 1


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                                        State of Maine Sample Ballot
                                     General Election, November 6, 2018
21


                                                            for
SA
                       Abbot, Blanchard Twp, Guilford, Monson, Parkman, Sangerville, Shirley, Willimantic




                                                           Instructions to Voters
40
     To vote, fill in the oval like this
41

42
     To rank your candidate choices, fill in the oval:
43
       • In the 1st column for your 1st choice candidate.
       • In the 2nd column for your 2nd choice candidate, and so on.
                      M
     Continue until you have ranked as many or as few candidates as you like.
     Fill in no more than one oval for each candidate or column.

     To rank a write-in candidate, write the person's name in the write-in space and fill in the oval for
51


     the ranking of your choice.
                                                       PL
                                              1st Choice



                                                                                    2nd Choice



                                                                                                                       3rd Choice



                                                                                                                                                          4th Choice




         U.S. Senator


         Brakey, Eric L.
         Auburn                                               Brakey, Eric L.                    Brakey, Eric L.                    Brakey, Eric L.




         Republican
         King, Angus S., Jr.
         Brunswick                                            King, Angus S., Jr.                King, Angus S., Jr.                King, Angus S., Jr.




         Independent
         Ringelstein, Zak
         Yarmouth                                             Ringelstein, Zak                   Ringelstein, Zak                   Ringelstein, Zak




         Democratic

         Write-in
                                                          E
                                                              Write-in                           Write-in                           Write-in
                                                                                    2nd Choice




                                                                                                                                                          4th Choice



                                                                                                                                                                                            5th Choice
                                              1st Choice




                                                                                                                       3rd Choice




         Rep. to Congress
         District 2



         Bond, Tiffany L.
         Portland                                             Bond, Tiffany L.                   Bond, Tiffany L.                   Bond, Tiffany L.                   Bond, Tiffany L.




         Independent
         Golden, Jared F.
         Lewiston                                             Golden Jared F.                    Golden, J ared F.                  Golden, Jared F.                   Golden, Jared F.




         Democratic
         Hoar, William R.S.
         Southwest Harbor                                     Hoar, William R.S.                 Hoar, William R.S.                 Hoar, William R.S.                 Hoar, William R.S.




         Independent
         Poliquin, Bruce
         Oakland                                              Poliquin, Bruce                    Poliquin, Bruce                    Poliquin, Bruc e                   Poliquin, Bruce




         Republican

         Write-in                                             Write-in                           Write-in                           Write-in                           Write-in




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                                       Turn Over for Additional Contests
